Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1484 Page 1 of 21



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  9
 10                        UNITED STATES DISTRICT COURT
 11                     SOUTHERN DISTRICT OF CALIFORNIA
 12
      KIM RHODE, et al.,                         CASE NO.: 3:18-cv-00802-BEN-JLB
 13
                             Plaintiffs,         BRIEF OF AMICUS CURIAE
 14                                              EVERYTOWN FOR GUN SAFETY
                 v.                              SUPPORT FUND IN SUPPORT OF
 15                                              DEFENDANT’S OPPOSITION TO
    XAVIER BECERRA, in his official              PLAINTIFFS’ MOTION FOR
 16 capacity as Attorney General of the          PRELIMINARY INJUNCTION
    State of California,
 17                                              Hearing Date:      August 19, 2019
                            Defendant.           Hearing Time:      10:30 a.m.
 18                                              Courtroom:         5A
                                                 Judge:             Hon. Roger T.
 19                                                                 Benitez
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         BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
           DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1485 Page 2 of 21



  1                  CORPORATE DISCLOSURE STATEMENT
  2        Everytown for Gun Safety has no parent corporations. It has no stock and
  3 hence no publicly held company owns 10% or more of its stock.
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         BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
           DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1486 Page 3 of 21



  1                                         TABLE OF CONTENTS
  2                                                                                                                 Page
  3 CORPORATE DISCLOSURE STATEMENT .....................................................1
  4 TABLE OF AUTHORITIES ............................................................................... ii
  5 INTEREST OF AMICUS CURIAE ......................................................................1
  6 INTRODUCTION ..............................................................................................1
  7 ARGUMENT .....................................................................................................3
  8           I.      Prop. 63’s Ammunition Background Checks Are Closely
                      Analogous to Longstanding Regulations on the Commercial Sale
  9                   of Firearms. .....................................................................................5
 10           II.     The Record-Keeping Obligations Imposed on Dealers by Prop. 63
                      Are Consistent with Longstanding Historical Record-Keeping
 11                   Obligations Regarding the Sale of Firearms. .....................................9
 12           III.    The Identification Requirements Imposed by Prop. 63 Are
                      Consistent with Longstanding Firearm Sale Regulations. ................. 11
 13
              IV.     Any Administrative Delays Imposed by Prop. 63 Are Consistent
 14                   with Historical Practice and Are Substantially Shorter Than
                      Historically Permissible Delays. ..................................................... 13
 15
      CONCLUSION................................................................................................. 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                               i
            BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
              DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1487 Page 4 of 21



  1                                       TABLE OF AUTHORITIES
  2
                                                  CASES
  3 District of Columbia v. Heller,
       554 U.S. 570 (2008) ............................................................................. 3, 4, 5, 12
  4
    Fyock v. Sunnyvale,
  5    779 F.3d 991 (9th Cir. 2015) .............................................................................. 4
  6 Heller v. District of Columbia,
       670 F.3d 1244 (D.C. Cir. 2011).......................................................................... 9
  7
    Jackson v. City & County of San Francsico,
  8    746 F.3d 953 (9th Cir. 2014) ...........................................................................2, 5
  9 Pena v. Lindley,
    898 F.3d 969 (9th Cir. 2018).................................................................................. 3
 10
    Peruta v. Cty. of San Diego,
 11 824 F.3d 919 (9th Cir. 2016) (en banc .................................................................... 9
 12 Silvester v. Harris,
       843 F.3d 816 (9th Cir. 2016),
 13    cert. denied sub nom, Silvester v. Becerra, 138 S. Ct. 945 (2018) ..........3, 9, 13, 14
 14 United States v. Skoien,
       614 F.3d 638 (7th Cir. 2010) .............................................................................. 4
 15
 16                                 STATUTES AND SESSION LAWS
 17 18 U.S.C. 922(t)(1)(C) ..................................................................................... 2, 12
 18
 19 27 Stat. 116 (D.C. July 13, 1892) .........................................................................10
 20 1911 Colo. Sess. Laws 408 .................................................................................... 6
 21 Vol. 26 Del. Laws 28 (1911)............................................................................. 6, 10
 22 1911 N.Y. Laws 442 ........................................................................................ 6, 10
 23 1913 Iowa Acts 307 .............................................................................................10
 24
      1913 Or. Laws 497 ........................................................................................... 6, 10
 25
      1918 Mont. Laws 6 ......................................................................................... 6, 10
 26
      Vol. 30 Del. Laws 55 (1919).................................................................................. 6
 27
      1919 Haw. Sess. Laws 167 ...................................................................................10
 28
                                                              ii
             BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
               DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1488 Page 5 of 21



  1 1919 N.C. Sess. Laws 398 ................................................................................ 7, 10
  2 1921 Mo. Sess Laws 691 .................................................................................. 7, 10
  3 1923 Ark. Acts 379 (repealed by 1925 Ark. Acts 1047)........................................... 7
  4 1923 Cal. Stat. 695 ........................................................................................... 7, 13
  5 1923 Cal. Stat. 699 ......................................................................................... 10, 11
  6 1923 Cal. Stat. 701 ....................................................................................... 5, 7, 12
  7 1923 Conn. Pub. Acts 3707 ........................................................................ 7, 12, 13
  8 1923 Conn. Pub. Acts 3708 ...................................................................... 11, 12, 13
  9 1923 N.D. Laws 379 .................................................................................. 7, 12, 13
 10 1923 N.D. Laws 381 ............................................................................................11
 11 1923 N.H. Laws 138 ................................................................................. 7, 11, 12
 12 1925 Ark. Acts 1047 ............................................................................................. 7
 13 1925 Haw. Sess. Laws 790 .................................................................................... 8
 14 1925 Ind. Acts 495 ...............................................................................7, 11, 12, 13
 15 1925 Mich. Pub. Acts 473 ............................................................................. 11, 12
 16 1925 N.J. Laws 185.................................................................................. 11, 12, 13
 17 1925 Or. Laws 468 ..................................................................................... 7, 12, 13
 18 1927 Haw. Laws 209............................................................................................13
 19 1927 Mass. Acts 413 ................................................................................. 8, 11, 13
 20 1927 Mich. Pub. Acts 887 .................................................................................... 8
 21 1927 N.J. Laws 742.......................................................................................... 8, 13
 22 1931 Pa. Laws 497 ............................................................................ 5, 9, 11, 12, 13
 23 1931 Tex. Gen. Laws 447 ...................................................................................... 9
 24 47 Stat. 650 (D.C. July 8, 1932) ................................................................ 11, 12, 13
 25 75 Cong. Rec. 12754 (Cal. June 13, 1932) ............................................................13
 26 1935 S.D. Sess. Laws 355 .....................................................................9, 11, 12, 13
 27 1935 Wash. Sess. Laws 599........................................................................ 9, 12, 13
 28
                                                              iii
             BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
               DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1489 Page 6 of 21



  1 1936 Ala. Laws 51 ................................................................................9, 11, 12, 13
  2
  3                                       OTHER AUTHORITIES
  4 Everytown for Gun Safety, Background Checks Save Lives and Protect Our
    Communities (Jan. 8, 2019), https://every.tw/31mDhTG ........................................ 2
  5
    Charles V. Imlay, The Uniform Firearms Act, 12 A.B.A. J. 767 (1926) ................... 7
  6
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      Handbook Proceedings, 36th Annual Conference 571 (1926). ................. 7, 8, 14
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    Rights, 80 LAW & CONTEMP . PROBS. 55 (2017) ...................................................4, 5
 11
    Sportsmen Fight Sullivan Law,
 12 23 J. Crim. L. & Criminology 665 (1932)............................................................ 8-9
 13
 14
 15
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 17
 18
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                                                           iv
            BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
              DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1490 Page 7 of 21



  1                          INTEREST OF AMICUS CURIAE
  2        Amicus curiae Everytown for Gun Safety Support Fund (“Everytown”) is the
  3 education, research, and litigation arm of Everytown for Gun Safety, the nation’s
  4 largest gun-violence-prevention organization, with millions of supporters in all 50
  5 states. Everytown for Gun Safety was founded in 2014 as the combined effort of
  6 Mayors Against Illegal Guns, a national bipartisan coalition of mayors combating
  7 illegal guns and gun trafficking, and Moms Demand Action for Gun Sense in
  8 America, an organization formed after the murder of twenty children and six adults
  9 in an elementary school in Newtown, Connecticut. Everytown’s mission includes
 10 defending gun laws through the filing of amicus briefs that provide historical context
 11 and doctrinal analysis that might otherwise be overlooked. Everytown has drawn on
 12 its expertise to file briefs in numerous Second Amendment cases, including
 13 challenges to background checks and waiting periods like those at issue in this case,
 14 offering historical and doctrinal analysis that might otherwise be overlooked. See,
 15 e.g., Libertarian Party of Erie Cty. v. Cuomo, No. 18-0386-cv (2d Cir.); Colo.
 16 Outfitters Ass’n v. Hickenlooper, No. 14-1290 (10th Cir.); Silvester v. Harris, No.
 17 14-16840 (9th Cir.). It seeks to do the same here. 1
 18                                   INTRODUCTION
 19        The United States has a longstanding, constitutional tradition of background
 20 checks for the purchase of firearms, and, relatedly, the recording of certain
 21 information regarding both the firearm and the purchaser to facilitate this process.
 22 But despite the requirement of a background check to purchase a firearm, throughout
 23 most of the country, violent felons and other people forbidden from possessing
 24 firearms (and ammunition) can readily purchase the ammunition necessary to use
 25
 26 1 An appendix of historical gun laws accompanies this brief. All parties have
      consented to the filing of this brief, and no counsel for any party authored the
 27   brief in whole or in part. Apart from amicus curiae, no person contributed money
      intended to fund the brief’s preparation and submission.
 28

          BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
            DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1491 Page 8 of 21



  1 those firearms without any form of background check or screening. Federal law
  2 requires that federally licensed firearms dealers contact the FBI to run a background
  3 check on prospective gun buyers before transferring firearms to those buyers. 18
  4 U.S.C. § 922(t)(1). However, background checks are not required under federal law
  5 for firearms sales by unlicensed sellers—including in private sales, online, and at
  6 gun shows. Twenty-one states (including California) and the District of Columbia,
  7 comprising more than half the nation’s population, have acted to close this
  8 background check loophole on private gun sales. Everytown for Gun
  9 Safety, Background Checks Save Lives and Protect Our Communities (Jan. 8,
 10 2019), https://every.tw/31mDhTG.
 11        In 2016, California’s voters closed this loophole within the State by approving
 12 Proposition 63 (“Prop. 63”), also known as the “Safety for All Act of 2016,” in an
 13 effort to promote public safety by “requir[ing] background checks for ammunition
 14 sales just like gun sales, and stop both from getting into the hands of dangerous
 15 individuals.” Prop. 63 § 2.7.2 Under Prop. 63, individuals purchasing ammunition
 16 are required to pass a background check similar to the check required when
 17 purchasing a firearm. If an individual passes this background check, the ammunition
 18 purchase is successfully processed. If an individual fails the background check that
 19 would have likewise prevented him or her from purchasing a firearm, then he or she
 20 cannot purchase ammunition.
 21        As Plaintiffs argue in their moving papers, ammunition is necessary for
 22 utilizing a firearm. See Memorandum of Points and Authorities In Support of
 23 Plaintiffs’ Motion for Preliminary Injunction (“Pls.’ PI”) (ECF No. 32-1) at 12-13.
 24 Indeed, the Ninth Circuit has made clear that ammunition is protected by the Second
 25
 26 2 The California Legislature prospectively amended Prop. 63 prior to its approval
      by the voters. See Defendant’s Opposition to Plaintiffs’ Motion for Preliminary
 27   Injunction (“State’s Br.”) (ECF No. 34) at 4 & n.1. References to Prop. 63 are to
      the law as amended.
 28
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          BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
            DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1492 Page 9 of 21



  1 Amendment only to the extent “necessary to use” a firearm. Jackson v. City &
  2 County of S.F., 746 F.3d 953, 967-68 (9th Cir. 2014); see also id. at 967 (noting that
  3 the Second Amendment “does not explicitly protect ammunition”). It therefore
  4 follows that longstanding, lawful regulations applicable to the purchase of a firearm
  5 would similarly pass constitutional muster when applied to the purchase of
  6 ammunition. And logic thus dictates that the regulations governing one should be
  7 similarly lawful when applied with equal force to the other.
  8          As discussed below, the sorts of regulations Prop. 63 imposes on the purchase
  9 and sale of ammunition have long been recognized as constitutionally sound
 10 restrictions on the purchase and sale of firearms. Due to the inextricable connection
 11 between firearms and ammunition, it follows that Prop. 63 is, like these historical
 12 firearm regulations, a longstanding, presumptively lawful regulation on the
 13 commercial sale of arms and thus falls outside of the scope of the Second
 14 Amendment’s protections. To grant Plaintiffs’ preliminary injunction motion would
 15 be to agree that their claims have a likelihood of success and that ammunition is
 16 somehow afforded greater constitutional protection than firearms. That simply
 17 cannot be. Plaintiffs’ motion should be denied.
 18                                       ARGUMENT
 19          Prop. 63’s ammunition eligibility check process is consistent with a
 20 longstanding and presumptively lawful tradition of “conditions and qualifications on
 21 the commercial sale of arms.” District of Columbia v. Heller, 554 U.S. 570, 626-27
 22 & n.26 (2008); see State’s Br. at 12 & n.3.3 It thus does not implicate the Second
 23
      3
          See also, e.g., Silvester v. Harris, 843 F.3d 816, 830-31 (9th Cir. 2016) (Thomas,
 24       C.J., concurring) (finding waiting periods, which were first enacted in the 1920s,
          to be a “longstanding condition or qualification on the commercial sale of arms”
 25       and thus presumptively lawful). As Judge Bybee has noted, the sort of “point-of-
          sale restrictions such as background checks and waiting periods” that are at issue
 26       in this case may also be defended “as ‘restrictions on the possession of firearms
          by felons and the mentally ill.’” Pena v. Lindley, 898 F.3d 969, 1009 n.19 (9th
 27       Cir. 2018) (Bybee, J., concurring in part and dissenting in part) (quoting Heller,
          554 U.S. at 626).
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           BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
             DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1493 Page 10 of 21



   1 Amendment right at all. For that reason alone, Plaintiffs’ motion for a preliminary
   2 injunction fails, at step one of the constitutional analysis. 4
   3          Both the Supreme Court and the Ninth Circuit have emphasized that
   4 “longstanding” regulations—including “laws imposing conditions and qualifications
   5 on the commercial sale of arms”—are “traditionally understood to be outside the
   6 scope of the Second Amendment.” Heller, 554 U.S. at 626-27, 635; Fyock v. City of
   7 Sunnyvale, 779 F.3d 991, 997 (9th Cir. 2015). These regulations need not “mirror
   8 limits that were on the books in 1791.” United States v. Skoien, 614 F.3d 638, 641
   9 (7th Cir. 2010) (en banc). Instead, as the Ninth Circuit has noted, even “early
 10 twentieth century regulations might nevertheless demonstrate a history of
 11 longstanding regulation if their historical prevalence and significance is properly
 12 developed in the record.” Fyock, 779 F.3d at 997.5
 13           Prop. 63 is consistent with this history and tradition. Indeed, as the Supreme
 14 Court expressly stated in Heller, such “conditions and qualifications on the
 15 commercial sale of arms” are permissible under the Second Amendment. Heller,
 16 554 U.S. at 626-27, 635. And, in fact, many similar laws regulating firearms —laws
 17 that, like Prop. 63 does for ammunition, required background checks, dealer record-
 18 keeping, buyer identification, and waiting periods—were passed around the same
 19 time as the prohibitions on sales to felons and the mentally ill that Heller identified
 20 as “longstanding” and therefore valid. See id.; see also Robert J. Spitzer, Gun Law
 21 History in the United States & Second Amendment Rights, 80 LAW & CONTEMP .
 22
       4
           For the reasons set forth in the State’s brief, Plaintiffs are also unlikely to succeed
 23        on the merits either under step two heightened scrutiny or their Dormant
           Commerce Clause claims, and have failed to demonstrate the other preliminary
 24        injunction factors.
 25 5 See also, e.g., Skoien, 614 F.3d at 639-40 (noting that “prohibitions on the
      possession of firearms by felons and the mentally ill” have been found to be
 26   sufficiently longstanding, despite the fact that “[t]he first federal statute
      disqualifying felons from possessing firearms was not enacted until 1938” and
 27   that “the ban on possession by all felons was not enacted until 1961” (internal
      quotation marks omitted) (emphasis in original)).
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            BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
              DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1494 Page 11 of 21



   1 PROBS. 55, 72, 75-76 (2017) (discussing the early 20th century passage of
   2 prohibitions on the possession of firearms by felons and the mentally ill and of
   3 restrictions on firearm sales).
   4        Thus, while Plaintiffs erroneously claim that California’s ammunition
   5 eligibility check process “plainly implicates Second Amendment conduct,” that is
   6 simply wrong. Rather, as explained below, there is a longstanding historical
   7 tradition of analogous regulation which, in and of itself, is sufficient to find Prop. 63
   8 constitutional—and to demonstrate that Plaintiffs cannot show, as they must on this
   9 motion, a strong likelihood of success on the merits of their Second Amendment
 10 claims.6
 11 I.      Prop. 63’s Ammunition Background Checks Are Closely Analogous to
            Longstanding Regulations on the Commercial Sale of Firearms.
 12
 13         California’s ammunition background check requirement is consistent with
 14 longstanding and analogous requirements for firearms. Indeed, as noted above, the
 15 earliest background check requirements originated during the same period as the
 16 “prohibitions on the possession of firearms by felons and the mentally ill” that Heller
 17 deemed presumptively lawful by virtue of their lengthy history. Heller, 554 U.S. at
 18 626; see Spitzer at 72, 75-76. And, in most cases, those laws were adopted in the
 19 very same legislation that prohibited firearm possession by felons and the
 20 dangerously mentally ill. See, e.g., 1923 Cal. Stat. 701, §§ 2, 9 (requiring
 21 background checks and prohibiting possession by felons); 1931 Pa. Laws 497, §§ 2,
 22
 23 6 Plaintiffs appear to assume that the Ninth Circuit’s decision in Jackson, 746 F.3d
      953 (9th Cir. 2014), ends any step one inquiry in this case. Pls.’ PI at 12-13. But
 24   that is not so. Jackson did not find that all regulation of ammunition is
      necessarily within the scope of the Second Amendment, only that “Heller did not
 25   differentiate between regulations governing ammunition and regulations
      governing the firearms themselves.” Jackson, 746 F.3d at 967. Regulations on
 26   ammunition like Prop. 63 are therefore subject to the same historical scope
      inquiry as regulations on firearms. See id. at 968. Under that inquiry, as
 27   demonstrated here, there is “persuasive historical evidence,” id., that regulations
      of the type imposed by Prop. 63 are fully consistent with the Second Amendment.
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           BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
             DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1495 Page 12 of 21



   1 8-9 (requiring background checks and prohibiting possession by those convicted of
   2 crimes of violence and those of unsound mind).
   3          Firearm background check laws were first enacted in the early 20th century.
   4 In 1911, New York enacted the Sullivan Act, which required prospective purchasers
   5 of handguns to apply for a permit from law enforcement in order to possess a
   6 firearm, and prohibited gun dealers from selling to anyone without such a permit.
   7 See 1911 N.Y. Laws 442, 442-45. That same year, Delaware passed a law that
   8 forbade the sale of firearms to minors or intoxicated individuals. See Vol. 26 Del.
   9 Laws 28, 28-29 (1911). The statute also required an investigation into a gun
 10 purchaser’s background, prohibited the sale of a firearm until “the purchaser ha[d]
 11 been positively identified,” and imposed extensive record-keeping requirements on
 12 firearms dealers. See id. at 29.7 Colorado enacted similar legislation in 1911 as well,
 13 requiring commercial gun dealers to keep detailed records on purchasers of firearms
 14 and to share these records with law enforcement. See 1911 Colo. Sess. Laws 408,
 15 409.
 16           In the ensuing years, several more states adopted legislation that provided
 17 standards to guide law enforcement investigations into gun purchasers’ backgrounds.
 18 Oregon enacted a law in 1913 requiring a would-be handgun buyer to first acquire a
 19 permit to purchase, and before a magistrate would issue a permit, an applicant had to
 20 prove his good character by providing affidavits signed by two “reputable
 21 freeholders” testifying to the applicant’s “good moral character.” 1913 Or. Laws
 22 497, 497. A 1918 Montana law required registration of all firearms and prohibited
 23 certain sales unless law enforcement issued a permit after an investigation that
 24 concluded a gun buyer was “of good moral character and [did] not desire such fire
 25 arm or weapon for any unlawful purpose.” 1918 Mont. Laws 6, 7. And, over the
 26
       7
           In 1919, Delaware enhanced its identification provision by requiring that two
 27        witnesses positively identify a firearm purchaser before a sale could be
           completed. See Vol. 30 Del. Laws 55, 55-56 (1919).
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            BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
              DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1496 Page 13 of 21



   1 next few years, North Carolina, Missouri, and Arkansas enacted comparable
   2 legislation. See 1919 N.C. Sess. Laws 397, 398 (prohibiting firearm sales until a
   3 clerk of the Superior Court is satisfied of the “good moral character of the
   4 applicant”); 1921 Mo. Laws 691, 692 (requiring the sheriff to investigate a
   5 purchaser’s background); 1923 Ark. Acts 379, 380; repealed by 1925 Ark. Acts
   6 1047, 1047 (requiring a permit which was issued only after law enforcement
   7 concluded the purchaser was “of good character”).
   8        In the wake of this initial wave of laws, the U.S. Revolver Association
   9 (“USRA”), a “non-commercial organization of amateur experts in the use of
 10 revolvers,” began drafting and urging the adoption of uniform firearm legislation to
 11 combat a growing wave of violence (the “USRA Model Act”). Charles V. Imlay,
 12 The Uniform Firearms Act, 12 A.B.A. J. 767, 767 (1926). USRA Vice President
 13 Karl T. Frederick (who also later served as president of the National Rifle
 14 Association) served as “one of the draftsmen” of the proposed legislation. Nat’l
 15 Conf. of Comm'rs on Uniform State Laws, Third Report of the Comm. on a Uniform
 16 Act to Regulate the Sale and Possession of Firearms, Handbook Proceedings, 36th
 17 Ann. Conf. 571, 573 (1926) (“1926 Conference Report”). Among the regulations
 18 included in the USRA Model Act were: a prohibition on the possession of pistols
 19 and revolvers by felons and noncitizens; a requirement that sellers transmit detailed
 20 sales records to local law enforcement; and a one-day waiting period between the
 21 application to purchase a firearm and receipt of that firearm. See Imlay at 767. The
 22 records and waiting period requirements enabled local law enforcement to conduct
 23 their own background check investigation and prevent purchases prohibited by law.
 24 See id.
 25         Between 1923 and 1925, several states—including California—passed laws
 26 modeled on the USRA Model Act. See 1923 Cal. Stat. 695, 696-97, 701; 1923
 27 Conn. Pub. Acts 3707, 3707-10; 1923 N.D. Laws 379, 380-82; 1923 N.H. Laws 138,
 28 138-39; 1925 Ind. Acts 495, 495-98; 1925 Or. Laws 468, 468-71. During the same
                                            7
           BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
             DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1497 Page 14 of 21



   1 period, other states continued to enact laws modeled after New York’s Sullivan Act,
   2 requiring a law-enforcement-issued permit to purchase firearms. See 1927 Mich.
   3 Pub. Acts 887, 887-88 (requiring applicants to demonstrate that they had not been
   4 convicted of a felony or adjudicated insane); 1927 N.J. Laws 742 (limiting purchase
   5 permits to people “of good character and . . . good repute in the community,” and
   6 increased the waiting period from one day to seven days to facilitate background
   7 investigations); 1925 Haw. Sess. Laws 790, 793 (requiring purchasers to obtain pre-
   8 approval from law enforcement before they could purchase a firearm); 1927 Mass.
   9 Acts 413, 415-16 (same).
 10         Then, in 1926, the National Conference of Commissioners on Uniform State
 11 Laws (the “Conference”) selected the USRA Model Act “as the model of the draft of
 12 the Uniform Act,” because it had “already gained ground” in the states. Nat’l Conf.
 13 of Comm’rs on Uniform State Laws, The Uniform Fire Arms Act, Handbook
 14 Proceedings, 40th Ann. Conf. 563, 569 (1930) (“1930 Conference Report”). The
 15 Conference expressed its belief that “the provisions of the proposed law present no
 16 constitutional obstacles” and “constitute no radical changes in existing laws.” 1926
 17 Conference Report at 574.
 18         Four years later, after some committee revisions of the USRA Model Act, the
 19 Conference approved the new Uniform Firearms Act (the “UFA”). Among other
 20 things, the UFA expanded the waiting period for a firearm purchase to forty-eight
 21 hours, to provide additional time for law enforcement to complete an investigation
 22 into the fitness of the purchaser. See 1930 Conference Report at 563-67. The UFA
 23 also prohibited the sale of firearms to “any person under the age of eighteen or to one
 24 [a seller] [had] reasonable cause to believe [had] been convicted of a crime of
 25 violence, or [was] a drug addict, an habitual drunkard or of unsound mind.” Id. And
 26 it required dealers to submit detailed purchaser information to law enforcement
 27 within six hours of an application so a background investigation of the purchaser
 28 could be conducted within the allotted 48 hours. Id.; see also Sportsmen Fight
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          BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
            DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1498 Page 15 of 21



   1 Sullivan Law, 23 J. Crim. L. & Criminology 665 (1932) (discussing “the police
   2 investigation” that occurs during the 48-hour waiting period to ensure a purchaser
   3 has “a clean record as an upright citizen.”). The UFA was subsequently adopted in
   4 some form by Pennsylvania, South Dakota, Washington, and Alabama, and enacted
   5 by Congress for the District of Columbia. See 1931 Pa. Laws 497; 1935 S.D. Sess.
   6 Laws 355; 1935 Wash. Sess. Laws 599; 1936 Ala. Laws 51; 47 Stat. 650 (1932). 8
   7        In sum, as this history demonstrates, investigations into a prospective
   8 purchaser’s background are at least as longstanding as many of the regulations found
   9 presumptively lawful by the Supreme Court in Heller. Prop. 63’s ammunition
 10 eligibility check process is merely a continuation of that history and tradition. And,
 11 for that reason alone it is “outside the scope of the Second Amendment and
 12 presumptively lawful.” Silvester, 843 F.3d at 832 (Thomas, C.J., concurring) (citing
 13 Peruta v. County of San Diego, 824 F.3d 919, 939 (9th Cir. 2016) (en banc)).
 14 II.     The Record-Keeping Obligations Imposed on Dealers by Prop. 63 Are
            Consistent with Longstanding Historical Record-Keeping Obligations
 15         Regarding the Sale of Firearms.
 16         Prop. 63’s requirement that dealers collect and retain records of ammunition
 17 sales is likewise unproblematic under the Second Amendment. Like the background
 18 check laws just discussed, see supra Section I, laws mandating record-keeping for
 19 firearm sales have existed for more than a century. Prop. 63 is a natural extension of
 20 this record-keeping tradition and thus, under step one of the applicable Second
 21 Amendment inquiry, constitutional.9
 22
 23 8 Texas created a similar background check requirement to ensure that its
      prohibitions on gun ownership by unreliable or dangerous people were enforced,
 24   requiring purchasers to obtain a “certificate of good character” from a justice of
      the peace or judge before they could purchase a pistol. See 1931 Tex. Gen. Laws
 25   447, 447-48.
 26 9 See also Heller v. District of Columbia, 670 F.3d 1244, 1292 (D.C. Cir. 2011)
      (Kavanaugh, J., dissenting) (noting that “[s]ome record-keeping requirements on
 27   gun sellers are traditional and common,” and thus constitutional under the Second
      Amendment).
 28
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          BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
            DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1499 Page 16 of 21



   1        These dealer record-keeping laws date back to at least 1892, when Congress
   2 passed a gun law for the District of Columbia that required gun dealers to “keep a
   3 written register of the name and residence of every purchaser” and to make a weekly
   4 report to the police of all gun sales or transfers. An Act to Punish the Carrying or
   5 Selling of Deadly or Dangerous Weapons Within the District of Columbia, 27 Stat.
   6 116 (July 13, 1892). Several states then followed suit. Delaware and New York first
   7 required dealers to keep records of gun sales in 1911. See, e.g., Vol. 26 Del. Laws
   8 28, § 4 (1911); 1911 N.Y. Laws 442, 444, § 2. Both states’ laws required dealers to
   9 record the purchaser’s name, age, occupation, address, and pistol permit number, as
 10 well as make and model of the weapon being purchased. Id. Iowa and Oregon were
 11 next in 1913. See 1913 Iowa Acts 307, 308-09, § 10; 1913 Or. Laws 497. And, by
 12 1921, four more states had adopted record-keeping requirements for firearms
 13 sellers.10
 14         As discussed above, see supra Section I, in the years that followed, the USRA
 15 Model Act led to a number of new firearms regulations at the state level. These state
 16 laws—which included California law—imposed stringent record-keeping
 17 requirements on firearms dealers. Starting in 1923, California required every person
 18 “in the business of selling firearms” to keep a record of the sale. 1923 Cal. Stat. 699,
 19 § 9. California gun retailers were required to log the purchaser’s name, age address,
 20 height, occupation, skin color, eye color, and hair color, as well as the purchased
 21 firearm’s manufacturer, serial number, and caliber. Id. The State even created a
 22 specific form for retailers to use, specifying that the dealers were to keep the
 23 originals for their own records, and that a “[c]arbon duplicate must be mailed on the
 24
 25 10 See, e.g., 1918 Mont. Laws 6 (“On sale or transfer into the possession of any
       other person such person shall immediately forward to the sheriff of the County in
 26    which such person lives the name and address of that purchaser and person into
       whose possession or control such fire arm or weapon was delivered”); see also
 27    1919 Haw. Sess. Laws 167; 1919 N.C. Sess. Laws 398; 1921 Mo. Sess. Laws
       691.
 28
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           BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
             DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1500 Page 17 of 21



   1 evening of the day of the sale” to the head of the municipal police department. Id.
   2 Connecticut, North Dakota, and New Hampshire all adopted similar laws that same
   3 year. See 1923 Conn. Pub. Acts 3708, § 5; 1923 N.D. Laws 381, § 10; 1923 N.H.
   4 Laws 138, § 8.
   5           These record-keeping laws based on the USRA Model Act were similar from
   6 state to state, reflecting their shared source material. 11 See, e.g., 1925 Ind. Acts
   7 495.12 And, notably, every one required that the seller transmit a record of the sale to
   8 state or local officials. Id.
   9           Prop. 63’s record-keeping requirement for ammunition sales is consistent with
 10 this long historical tradition of analogous requirements on the commercial sale of
 11 arms. That robust history further demonstrates that Prop. 63 does not fall within the
 12 scope of the Second Amendment right, and that Plaintiffs are thus unlikely to
 13 succeed on the merits of their claims.
 14 III.       The Identification Requirements Imposed by Prop. 63 Are Consistent
               with Longstanding Firearm Sale Regulations.
 15
               Prop. 63’s purchaser identification requirements are also consistent with
 16
       longstanding firearm regulations. That, too, supports constitutionality here.
 17
 18
       11
            Compare 1923 N.H. Laws 138, § 8 (“Before a delivery be made the purchaser
 19         shall sign in duplicate and deliver to the seller a statement containing his full
            name, address, and nationality, the date of sale, the caliber, make, model, and
 20         manufacturer’s number of the weapon. The seller shall, within seven days, sign
            and forward to the chief of police of the city or selectmen of the town one copy
 21         thereof and shall retain the other copy for one year”) with 1936 Ala. Laws 51, 53
            § 9 (“At the time of applying for the purchase of a pistol the purchaser shall sign
 22         in triplicate and deliver to the seller a statement containing his full name, address,
            occupation, color, place of birth, the date and hour of application, the caliber,
 23         make, model, and manufacturer’s number of the pistol to be purchased and a
            statement that he has never been convicted in this State or elsewhere of a crime of
 24         violence. The seller shall within six hours after such application, sign and attach
            his address and forward by registered mail one copy of such statement to the chief
 25         of police of the municipality or the sheriff of the county of which the seller is a
            resident . . . the triplicate he shall retain for six years.”).
 26
       12
            1925 Mich. Pub. Acts 473; 1925 N.J. Laws 185, § 3; 1927 Mass. Acts 413; 1931
 27         Pa. Laws 497, 499, § 9; 47 Stat. 650 (1932) (District of Columbia); 1935 S.D.
            Sess. Laws 355.
 28
                                                   11
             BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
               DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1501 Page 18 of 21



   1           Since at least the 1920s, in addition to requiring that dealers record identifying
   2 information about purchasers, firearm laws have mandated that a purchaser present
   3 some form of identification to the seller. California is no exception. As early as
   4 1923, California required that a purchaser either be “personally known to the seller
   5 or shall present clear evidence of his identity.” 1923 Cal. Stat. 701, § 11. Numerous
   6 other states enacted similar requirements throughout the 1920s and 1930s. 13 And,
   7 during this same time period, Congress enacted an identification statute for the
   8 District of Columbia, requiring the purchaser of a handgun to present “clear evidence
   9 of [the purchaser’s] identity.” Act of July 8, 1932, 47 Stat. 650, ch. 465, § 10. 14
 10 These identification requirements have persisted into the modern era. 15
 11            In short, that Prop. 63 requires a purchaser to present identification is not new.
 12 Rather, it is of a piece with “conditions and qualifications on the commercial sale of
 13 arms,” Heller, 554 U.S. at 626-27 & n.26, that have existed for a century. Such
 14 longstanding regulations are not within the scope of the right protected by the
 15
 16
       13
            See, e.g., 1923 Conn. Pub. Acts 3707, 3708 (“no sale or delivery of any pistol or
 17         revolver shall be made unless the purchaser or person to whom the same is to be
            delivered shall be personally known to the vendor of such pistol or revolver or the
 18         person making delivery thereof or unless the person making such purchase to
            whom delivery thereof is to be made shall provide evidence of his identity.”); see
 19         also 1923 N.D. Laws 379; 1923 N.H. Laws 138, § 10; 1925 Ind. Acts 495 §11;
            1925 Or. Laws 468; 1931 Pa. Laws 497, 500, § 11; 1935 S.D. Sess. Laws 355,
 20         357; 1935 Wash. Sess. Laws 599, 602; 1936 Ala. Laws 51, 53, § 11.
 21 14 Beyond these specific requirements, the importance of proper identification was
       emphasized by many of these statutes also making the presentation of “false
 22    evidence” of one’s identity a crime. See, e.g., 1925 Mich. Pub. Acts 473, 475-76,
       No. 313 §§ 9, 13; see also 1925 N.J. Laws 185, 187, ch., 64 § 2 (stating that
 23    giving false personal information shall be punishable by “high misdemeanor”);
       Act of July 8, 1932, 47 Stat. 650, ch. 465, § 11 (District of Columbia) (“No
 24    person, shall, in purchasing a pistol . . ., or in purchasing a sawed-off shotgun, or
       blackjack within the District of Columbia, give false information or offer false
 25    evidence of identity.”).
 26 15 See, e.g., 18 U.S.C. § 922(t)(1)(C) (“[a] licensed dealer shall not transfer a
       firearm to any other person who is not [another dealer], unless . . . the transferor
 27    has verified the identity of the transferee by examining a valid identification
       document.”).
 28
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             BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
               DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1502 Page 19 of 21



   1 Second Amendment, and do not create a substantial likelihood that Plaintiffs’
   2 challenge will succeed on the merits.
   3 IV.       Any Administrative Delays Imposed by Prop. 63 Are Consistent with
               Historical Practice and Are Substantially Shorter Than Historically
   4           Permissible Delays.
   5           Any delays incidental to completing Prop. 63’s ammunition eligibility process
   6 are likewise fully consistent with historical tradition. As the Ninth Circuit has noted,
   7 “[t]here is . . . nothing new in having to wait for the delivery of a weapon.” Silvester,
   8 843 F.3d at 827. “[T]he ability to immediately exercise Second Amendment rights
   9 has no foundation in history.” Id. at 831 (Thomas, C.J., concurring).
 10            In California, a one-day waiting period law was originally enacted in 1923.
 11 See Law of June 13, 1923, ch. 339, § 10, 1923 Cal. Stat. 695, 696. California was
 12 not alone. In all, a dozen states enacted waiting periods in the 1920s and 1930s, with
 13 Congress also enacting a waiting period for the District of Columbia. 16 During
 14 Senate debate before enacting a forty-eight-hour waiting period for Washington
 15 D.C., Senator Arthur Capper (R-KS) remarked on the Senate floor that the slight
 16 delay would not disturb “[t]he right of an individual to possess a pistol in his home
 17 or on land belonging to him.” 75 Cong. Rec. 12754 (June 13, 1932). The waiting
 18 period laws passed at that time were nearly identical, as they were part of the USRA
 19
 20
 21
 22
       16
            See Law of Mar. 7, 1923, ch. 266, § 10, 1923 N.D. Laws 379, 381; Law of June
 23         2, 1923, ch. 252, § 7, 1923 Conn. Pub. Acts 3707, 3708; Law of Feb. 26, 1925,
            ch. 260, § 10, 1925 Or. Laws 468, 473; Law of Mar. 12, 1925, ch. 207, § 9, 1925
 24         Ind. Acts 495, 497; Law of Mar. 12, 1925, ch. 64, § 4, 1925 N.J. Laws 185, 188;
            Law of Mar. 30, 1927, ch. 321, § 6(4)(b), 1927 N.J. Laws 742, 745; Law of June
 25         11, 1931, No. 158, §§ 4, 9, 1931 Pa. Laws 497, 498-99; Law of Mar. 14, 1935,
            ch. 208, §§ 4, 8, 9, 1935 S.D. Sess. Laws 355, 356; Law of Mar. 23, 1935, ch.
 26         172, §§ 4, 8, 9, 1935 Wash. Sess. Laws 599, 601; Law of Apr. 6, 1936, No. 82, §§
            4, 8, 9, 1936 Ala. Laws 51, 52; Law of Apr. 27, 1927, Act 206, §§ 4, 9, 1927
 27         Haw. Sess. Laws 209, 211; Law of Apr. 27, 1927, ch. 326, §§ 2, 3, 1927 Mass.
            Acts 413, 414; Act of July 8, 1932, ch. 465, §§ 1, 8, 47 Stat. 650, 652.
 28
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             BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
               DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1503 Page 20 of 21



   1 Model Act, and later UFA, that was being rapidly adopted across the country. See
   2 Section I, supra.17
   3           The Ninth Circuit has held that California’s ten-day waiting period is
   4 constitutional. See Silvester, 843 F.3d at 829. Specifically, waiting periods which
   5 extend beyond the completion of a background check do not “prevent, restrict, or
   6 place any conditions on how guns are stored or used after a purchaser takes
   7 possession” nor does waiting “prevent any individuals from owning a firearm.” Id.
   8 at 827. In Silvester, the Ninth Circuit explained that the impact of a waiting period
   9 was “very small” and “does not place a substantial burden on Second Amendment
 10 rights.” Id. “[M]inor temporal regulation” of a Second Amendment right “is not
 11 without precedent,” nor is it “anomalous” among various other constitutional rights
 12 such as obtaining marriage licenses or permits for a protest. Id. at 832 (Thomas, J.,
 13 concurring).
 14            Here, Plaintiffs claim that completing the ammunition background check
 15 process, which, they assert, takes up to thirty minutes imposes a “time-consuming”
 16 burden, which poses a “significant barrier” to exercising Second Amendment rights.
 17 (Pls.’ PI at 18-19.) As the State has demonstrated, Plaintiffs’ claims as to the amount
 18 of time needed to conduct the Prop. 63 check appear to be inaccurate. See State’s Br.
 19 at 10 (“The average processing time . . . was just under five minutes.”). But, in any
 20 event, for nearly a century, states and Congress have mandated significantly longer
 21 delays for an individual to take possession of a firearm to allow for the completion of
 22 a background check. Simply put, such a delay is “nothing new” and does not
 23 implicate the Second Amendment. For this reason, Plaintiffs’ argument that they
 24 will succeed on the merits here is without merit.
 25 //
 26
       17
            When adopting the USRA Model Act, the Conference noted that the waiting
 27         period was “intended to avoid the sale of a firearm to a person in a fit of passion.”
            1926 Conference Report at 583.
 28
                                                   14
             BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
               DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
Case 3:18-cv-00802-BEN-JLB Document 36-1 Filed 08/09/19 PageID.1504 Page 21 of 21



   1                                   CONCLUSION
   2        For the foregoing reasons, and those set forth by State, the Court should deny
   3 Plaintiffs’ Motion for Preliminary Injunction.
   4 Dated: August 9, 2019             Respectfully submitted,
   5
                                       By:    /s/ Matthew J. Tako
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          BRIEF OF AMICUS CURIAE EVERYTOWN FOR GUN SAFETY SUPPORT FUND IN SUPPORT OF
            DEFENDANT’S OPPOSITION TO PLAINTIFFS’ MOTION FOR PRELIMINA RY INJUNCTION
